                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )
v.                                           ) NO. 3-10-00211-2
                                             ) JUDGE CAMPBELL
SIOBHAN HATTON                               )

                                            ORDER

         Pending before the Court are Defendant’s Objections to Magistrate Judge’s Finding and

Order (Docket No. 71) and the Government’s Response thereto (Docket No. 75). The Order to

which Defendant objects is Docket No. 70, in which the Magistrate Judge denied Defendant’s

Motion to Permit Independent Travel to Surrender to U.S. Marshal (Docket No. 55).

         Pursuant to Fed. R. Crim. P. 59, the Court may modify or set aside any portion of the

Magistrate Judge’s Order that is contrary to law or clearly erroneous. The Court has reviewed the

Order, the Defendant’s Objections, the Government’s Response and the file and finds nothing in the

Magistrate Judge’s Order to be contrary to law or clearly erroneous.

         The Objections of the Defendant are overruled, and the Order of the Magistrate Judge

(Docket No. 70) is AFFIRMED.

         Also pending before the Court is Defendant’s Motion for Expedited Hearing and Stay

(Docket No.76) The Motion is DENIED. An expedited hearing is unnecessary since the Court, by

this Order, has expedited this decision.

         IT IS SO ORDERED.

                                                    ___________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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